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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION                              ENTERED
                                                                         02/04/2020
IN RE:                             §
HIGH MESA, INC., et al             §        CASE NO: 20-30602
                                   §
PETRO OPERATING COMPANY, LP        §        CASE NO: 20-30603
                                   §
PETRO ACQUISITIONS, LP; fdba PETRO §        CASE NO: 20-30604
ACQUISITIONS, INC.                 §
                                   §
HIGH MESA HOLDINGS, LP             §        CASE NO: 20-30605
                                   §
THE MERIDIAN RESOURCE AND          §        CASE NO: 20-30606
EXPLORATION, LLC                   §
                                   §
HIGH MESA HOLDINGS GP, LLC         §        CASE NO: 20-30607
                                   §
AM IDAHO, LLC                      §        CASE NO: 20-30608
                                   §
LOUISIANA ONSHORE PROPERTIES,      §        CASE NO: 20-30609
LLC                                §
                                   §
AMH ENERGY NEW MEXICO, LLC         §        CASE NO: 20-30610
                                   §
AM MICHIGAN, LLC                   §        CASE NO: 20-30611
                                   §
TEXAS ENERGY ACQUISITIONS, LP;     §        CASE NO: 20-30612
fdba TEXAS ENERGY ACQUISITIONS, §
INC.                               §
                                   §
CAIRN ENERGY USA, LLC; fka CAIRN §          CASE NO: 20-30613
ENERGY USA, INC.; fka OMNI         §
EXPLORATION, INC.                  §
                                   §
THE MERIDIAN PRODUCTION, LLC;      §        CASE NO: 20-30614
fdba THE MERIDIAN PRODUCTION       §
CORPORATION                        §
                                   §
HIGH MESA SERVICES, LLC            §        CASE NO: 20-30615
                                   §
HMS KINGFISHER HOLDCO, LLC         §        CASE NO: 20-30616
                                   §
ALTA MESA ACQUISITION SUB, LLC; §           CASE NO: 20-30619
fdba THE MERIDIAN RESOURCE         §



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CORPORATION                       §
                                  §
ALTA MESA DRILLING, LLC           §        CASE NO: 20-30620
                                  §
ALTA MESA ENERGY, LLC             §        CASE NO: 20-30621
                                  §
ALTA MESA GP, LLC                 §        CASE NO: 20-30622
                                  §
ARANSAS RESOURCES, LP; fka        §        CASE NO: 20-30623
ARANSAS RESOURCES, INC.           §
                                  §
ARI DEVELOPMENT, LLC              §        CASE NO: 20-30624
                                  §
BRAYTON MANAGEMENT GP II, LLC §            CASE NO: 20-30625
                                  §
BRAYTON RESOURCES, LP             §        CASE NO: 20-30626
                                  §
BRAYTON RESOURCES II, LP          §        CASE NO: 20-30627
                                  §
BUCKEYE PRODUCTION COMPANY,       §        CASE NO: 20-30628
LP; fdba BUCKEYE PRODUCTION       §
COMPANY, INC.                     §
                                  §
FBB ANADARKO, LLC                 §        CASE NO: 20-30629
                                  §
GALVESTON BAY RESOURCES, LP; fdba §        CASE NO: 20-30630
GALVESTON BAY RESOURCES INC.      §
                                  §
LEADS RESOURCES, LLC              §        CASE NO: 20-30632
                                  §
LOUISIANA EXPLORATION &           §        CASE NO: 20-30634
ACQUISITION, LP; fdba LOUISIANA   §
EXPLORATION AND ACQUISITIONS      §
PARTNERSHIP, INC.                 §
                                  §
NAVASOTA RESOURCES LTD. LLP; fdba §        CASE NO: 20-30635
HILLTOP ACQUISITION LLC; fka      §
NAVASOTA RESOURCES, INC.          §
                                  §
NUECES RESOURCES, LP; fdba NUECES §        CASE NO: 20-30637
RESOURCES, INC.                   §
                                  §
SUNDANCE ACQUISITION, LLC; fka    §        CASE NO: 20-30638
SUNDANCE ACQUISITION              §
CORPORATION                       §
                                  §



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TEA ENERGY SERVICES LLC                       §       CASE NO: 20-30639
                                              §
THE MERIDIAN RESOURCE, LLC                    §       CASE NO: 20-30640
                                              §
VIRGINIA OIL AND GAS, LLC                     §       CASE NO: 20-30641
                                              §       Jointly Administered Order
       Debtor(s)                              §
                                              §       CHAPTER 7

                ORDER AUTHORIZING STATE OF FLORIDA
        AND UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
        TO EXERCISE CERTAIN RIGHTS OF PETRO ACQUISITIONS, L.P.
                 AND PETRO OPERATING COMPANY, L.P.

      On its own motion and without objection from any party in interest, the Court Orders:

      1. By this Order, the State of Florida and the United States Environmental Protection
         Agency (the “Governmental Agencies”) are granted full and unfettered access to all
         of the real and personal property of Petro Acquisitions, L.P. and of Petro Operating
         Company, L.P. (the “Debtors”) for the purposes of protecting the health, safety and
         welfare of the citizens and property located on or in the proximity of any of the
         Debtor’s property or operations. This property includes, without limitation, the
         property located at 4940 Blackjack Plant Road, commonly described as the Blackjack
         Creek Field and the Blackjack Creek Treating Facility in Santa Rosa County, Florida.

      2. The Governmental Agencies are granted access and entry easements to the Debtors’
         properties. These easements are durable and will survive the dismissal of this case.

      3. The Trustee shall provide the Governmental Agencies with all plans, blueprints,
         operating manuals, safety manuals, procedures, gate access codes, keys and other real
         and personal property requested by the Governmental Agencies pursuant to the
         exercise of the rights granted by paragraph 1 of this Order. The Trustee may make
         such provision by instructing his agents, Danos, or any other entity to make them
         available to the Governmental Agencies.

      4. This Order is issued pursuant to the Court’s jurisdiction arising under 28 U.S.C.
         § 1334, under the authority granted by 11 U.S.C. § 105 and in furtherance of 28
         U.S.C. § 959.

      5. This Order may be recorded in the real property records pursuant to Fed,. R. Civ. P.
         70 as made applicable by Fed. R. Bankr. P. 7070; provided, this Order is effective
         upon entry and no recordation is required.

      6. Any party-in-interest may move to modify this Order on an emergency basis at any
         time.




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      7. This Court has previously granted administrative status to any post-petition claim by
         Danos LLC for its post-petition services in this case. This Order does not adversely
         affect that status.

      8. This Order is not stayed.

      SIGNED February 4, 2020.


                                              ___________________________________
                                                         Marvin Isgur
                                              UNITED STATES BANKRUPTCY JUDGE




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